Case 1:21-cr-00399-DLB Document 59 Filed 10/18/22 Page 1 of 4

LAW OFFICES
RICE MURTHA PSORAS LLC
G. RANDOLPH RICE 1301 YORK ROAD, SUITE 200
JOSEPH MURTHA LUTHERVILLE, MARYLAND 21093 imurtha@ricelawmd.com
GEORGE PSORAS, JR. (410) 583-6969
GREGORY J. PSORAS FAX (410) 583-4706

ERIC S. LICKSTEIN

October 18, 2022

BY ELECTRONIC FILING
The Honorable Deborah L. Boardman
United States District Judge
United States District Court

for the District of Maryland
101 W. Lombard Street
Baltimore, Maryland 21201

Re: United States of America v. Roy C. McGrath
Criminal No. DLB-21-0399

Dear Judge Boardman:

I have advised the government that I would be sending this letter to the Court, and despite
the informal nature of this letter, I request that the Court consider this as a defendant’s request for
postponement of the trial in this matter. If the Court prefers a formal pleading I will provide a
motion to the Court.

As I have prepared for trial in this matter I have kept Mr. McGrath aware of the discovery
that has been produced by the government. At some point several months ago Mr. McGrath and J
met and he had an opportunity to review government discovery productions E01-E06. The
government had produced this discovery from January, 2022 through July, 2022. Undersigned
counsel discussed the discovery with Mr. McGrath and continued to prepare for the pending trial.
It is important to note that Mr. McGrath resides in Florida, and that pursuant to the terms of the
discovery agreement counsel cannot provide a copy of the discovery to Mr. McGrath.

On October 7, 2022 the government provided supplemental discovery in the form of
production E07 and E08. Then, on the evening of October 14, 2022, the government provided
production E09. Because of Hurricane lan Mr. McGrath was unavailable to speak with counsel
for several days. Further, he had made plans to arrive on October 21, 2022, to continue with trial
preparation, not anticipating that he would be required to review three additional productions of
Case 1:21-cr-00399-DLB Document 59 Filed 10/18/22 Page 2 of 4
Case 1:21-cr-00399-DLB Document 59 Filed 10/18/22 Page 3 of 4

The Honorable Deborah L. Boardman
October 18, 2022
Page 2

discovery.

The untimely production of the most recent discovery has distracted undersigned counsel
from focusing on trial preparation, and Mr. McGrath has expressed serious and rational concerns
that he is being forced to consider the most recent discovery productions just days before the trial
is to commence. This is Rule 16 discovery. Mr. McGrath has expressed serious concerns
regarding counsel’s ability to be adequately prepared for trial when having to juggle the recent
production of discovery at a time when it was anticipated that the production of discovery was
complete. I share in Mr. McGrath’s concerns. The government has three very competent and
experienced attorneys assigned to this case. Undersigned counsel is the only attorney
representing Mr. McGrath. As such, undersigned counsel understands Mr. McGrath’s concern
that counsel’s ability to focus on trial preparation, rather than continued review of untimely
produced discovery, as well as the need for Mr. McGrath to review the belated discovery, is an
obstacle to effective representation of Mr. McGrath. As such, on behalf of Mr. Magrath
undersigned counsel requests that this matter be postponed. In the event the Court believes that
the request to reschedule this matter is not reasonable, I request that the trial date be delayed for
one week in order for undersigned counsel to have an adequate amount of time to review the
discovery with Mr. McGrath.

As previously noted, undersigned counsel has advised the government of the intention to
file this request.

Thank you for your consideration of this request.

Sincerely,
=S-
Joseph Martha

cc: Joyce McDonald, AUSA (by electronic mail)
Aaron Zelinsky, AUSA (by electronic mail)
Sarah David, SALSA (by electronic mail)
JM7903(tev.)
 

Case 1:21-cr-00399-DLB Document 59 Filed 10/18/22 Page 4 of 4
